   Case 13-13867-JDW       Doc 84 Filed 03/11/19 Entered 03/11/19 10:31:13         Desc Order
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                                                                                 (Rev. 06/29/18)

                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

In Re: Annie D. Lester                          )                Case No.: 13−13867−JDW
       Debtor(s)                                )                Chapter: 13
                                                )                Judge: Jason D. Woodard
                                                )
                                                )


                         ORDER TO SUBMIT PROPOSED ORDER
     The court hereby orders and directs Karen B. Schneller to submit a proposed order (Re: 83
Motion to Reinstate Case filed by Debtor Annie D. Lester). Order Due by 3/25/2019 Entered on
Docket by: (TLJ)
        Unless a proposed order is submitted to this court through the office of the Clerk of this
court on or before the date specified above, the court may enter whatever order is necessary,
which may include an order denying or overruling the motion, application, objection or complaint
filed in the above captioned case or an order scheduling a hearing for sanctions. In the event that
the proposed order has been forwarded to counsel opposite for approval and has not been returned
or submitted to the court by counsel opposite, the aforementioned attorney shall upload the
proposed order to e−Orders by the deadline. In the signature line for counsel opposite, the
submitting attorney shall note the dates of attempted contact with counsel opposite and the
method(s) of such contact.
       The applicability of the deadline imposed by this order is limited to submission of the
proposed order due. Therefore, this order does not extend any rights or protections that may
expire before the deadline herein or otherwise extend any deadline mandated by applicable
statutes, rules or other court orders.
Dated and Entered: 3/11/19
                                                    Jason D. Woodard
                                                    Judge, U.S. Bankruptcy Court
